Case 1:14-cv-03074-CMA-KMT Document 1213 Filed 05/21/19 USDC Colorado Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Case No. 14-cv-03074-CMA-KMT

   JOHANA PAOLA BELTRAN,
   LUSAPHO HLATSHANENI,
   BEAUDETTE DEETLEFS,
   ALEXANDRA IVETTE GONZALEZ,
   JULIANE HARNING,
   NICOLE MAPLEDORAM,
   LAURA MEJIA JIMENEZ,
   SARAH CAROLINA AZUELA RASCON,
   CATHY CARAMELO,
   LINDA ELIZABETH,
   GABRIELA PEREZ REYES,
        and those similarly situated,

           Plaintiffs,
   v.

   INTEREXCHANGE, INC.,
   USAUPAIR, INC.,
   GREATAUPAIR, LLC,
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
   CULTURAL HOMESTAY INTERNATIONAL,
   CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR,
   AUPAIRCARE INC.,
   AU PAIR INTERNATIONAL, INC.,
   APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
   AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA,
   ASSOCIATES IN CULTURAL EXCHANGE DBA GOAUPAIR,
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR,
   GOAUPAIR OPERATIONS, LLC, DBA GOAUPAIR,
   AGENT AU PAIR,
   A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

           Defendants.


        THIRD DECLARATION OF JOSHUA J. LIBLING ATTACHING OBJECTIONS OR
                     COMMENTS TO PROPOSED SETTLEMENT
Case 1:14-cv-03074-CMA-KMT Document 1213 Filed 05/21/19 USDC Colorado Page 2 of 5




   I, JOSHUA J. LIBLING, declare as follows:

          1.     I am an attorney duly licensed to practice law in the State of New York and

   am a Counsel with the law firm of Boies Schiller Flexner LLP, counsel for the Plaintiffs

   and for the Class. I am admitted to practice in the United States District Court for the

   District of Colorado.

          2.     The matters stated herein are based on my personal knowledge and, if

   called upon to testify, I could and would testify competently thereto.

          3.     Attached hereto as Exhibit 1 is a true and correct copy of an objection or

   comment to the proposed settlement in this action received by the class administrator

   from Ms. Jan Feureisl. The class administrator informs me that Ms. Feureisl matches our

   records as a member of the class who has not submitted a request for exclusion. Exhibit

   1 has been modified from the original through the redaction of personal identifying

   information (address, phone number, e-mail address). The unredacted version was

   provided to Defendants and a copy can be provided to the Court at the Court’s request.

          4.     The Class Administrator informs me that Exhibit 1 was received on May 12,

   2019, after the period for comments had ended. In an abundance of caution, Class

   Counsel are submitting it to the Court nonetheless.

          5.     In light of the fact that Exhibit 1 comments upon the timing of Ms. Feureisl’s

   receipt of notice, I made enquiries of the Class Administrator and can report the following:

   (a) The contact information provided by Defendants for Ms. Feureisl contained an e-mail

   address, cell phone number, and address; (b) Ms. Feureisl’s au pair placement was from

   2010-2011, however, so this information was eight years old; (c) the Class Administrator

   sent e-mail notice to Ms. Feureisl on time on February 1, 2019; (d) when the Class



                                                 2
Case 1:14-cv-03074-CMA-KMT Document 1213 Filed 05/21/19 USDC Colorado Page 3 of 5




   Administrator learned that the e-mail had not been successful, the Class Administrator

   sent a text message notice; (e) when the Class Administrator learned that the text

   message notice had not been successful, the Class Administrator mailed notice on April

   23, 2019; and (f) if Ms. Feureisl’s statement that she received the mail notice on May 2,

   2019, is accurate, at that time (and as made clear in the notice) a claim form could be

   submitted instantaneously via the class website, or could be submitted via e-mail.




          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct to the best of my knowledge.


   Executed this 21st day of May, 2019 at New York, New York.

                                                    Respectfully submitted,

                                                    /s/ Joshua J. Libling
                                                    Joshua J. Libling
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                                                    New York, NY 10001
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                                                    jlibling@bsfllp.com

                                                    Counsel for Plaintiffs




                                                3
Case 1:14-cv-03074-CMA-KMT Document 1213 Filed 05/21/19 USDC Colorado Page 4 of 5




                               EXHIBIT 1
Case 1:14-cv-03074-CMA-KMT Document 1213 Filed 05/21/19 USDC Colorado Page 5 of 5




 Beltran, et al. v. InterExchange: Personal Objection

 I’m one of the affected au-pairs, who received your “funny” letter. As such, and after some
 deliberation, I like to state two things for you:

 1) Being an au-pair in a forein country is for the most part an experience, not a job. The "pay" is to be
 considered a pocket money, and the au-pair a part of the host family. The weekly stipend only became a
 "wage" for legal purposes, when it reached over some legally given lowest wage limit. In any case, the
 stipend of 195$ is too small to be considered a "wage" by me, who worked realistically some 55 hours
 a week.

 2) Secondly, from the way of your acting, dear “au-pair class action” I can tell, that you don’t give a
 fuc* about the au-pairs involved. Sending a letter that needs to be send back on the day it arrives
 (05/02/2019) is beyond ridiculous! If you actually sued the au-pair agencies to rise the money for as
 many of the affected au-pairs as possible, you would send the letters in such a way that it would be
 possible for all affected individuals to read and reply in time. This tells me that you lawsuit is a lawsuit
 of a few for the benefit of few, and probably the persons profiting most from it will be the lawyers,
 NOT THE AU-PAIRS behind which you hide! In other words you manufactured a law case to rise a
 profit, the “american style”, all the while you are hiding behind a seamingly philathropic intentions.

 Best regards --sarcasm,
 the person stated below.


 WHO OBJECTS:
  Jan Feureisl
  address:
  email:
  phone:




 Where:                                                                               Signature:
 When: 05/12/2019
